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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
––––––––––––––––––––––––––––––––––––––––––– x
                                            :
ROBERT T.E. LANSING,                        :   JURY TRIAL DEMANDED
                                            :
                     Plaintiff,             :   Case No. 1:11-cv-04153
                                            :
    v.                                      :   Judge:
                                            :
GEORGE W. CARROLL,                          :
                                            :
                     Defendant.             :
                                            :
––––––––––––––––––––––––––––––––––––––––––– x


                                         COMPLAINT

       COMES NOW Plaintiff, Robert T.E. Lansing, by and through his attorneys, Winston &

Strawn LLP, and brings this Complaint against Defendant, George W. Carroll, as follows:

                                       INTRODUCTION

       1.      This dispute arises from George Carroll’s bad faith, fraud, and failure to honor his

contractual obligations to Robert Lansing under twelve separate investment fund ownership

agreements. Lansing and Carroll entered into these agreements for the purpose of forming and

managing various real estate investment funds, known as The Westminster Funds. As co-

owners, directors, and managers of The Westminster Funds’ management entities, Lansing and

Carroll are responsible for managing over $600 million in real estate investments for over a

hundred private investors located across the United States, primarily consisting of the family

offices of wealthy families.

       2.      Carroll has failed to honor his duties owed to Lansing and to the funds. Over the

past three years, Carroll has progressively disengaged himself from the operations of the funds:



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he failed to attend investor meetings; he failed to effectively coordinate management of real-

estate investment properties over which he had responsibility; he failed to participate in

management meetings; and he shuttered his responsibilities in preparing critical investor reports.

       3.      As Carroll no longer adds value to the funds, Lansing decided to end his business

relationship with Carroll.     On November 1, 2010, Lansing exercised specific contractual

mechanisms — known as “buy/sell” provisions — in each of the agreements, and made a

binding offer to purchase Carroll’s interests, or alternatively to sell his own interests in the

various management entities, for $14,045,000. Carroll and Lansing mutually agreed to these

buy/sell provisions in order to provide a fair, efficient, and final means to effectuate a business

divorce so as not to disrupt the operation of the funds, nor to disrupt their stewardship of the

funds consistent with their fiduciary duties to investors.

       4.      Rather than respond to Lansing’s offer in good faith, Carroll instead sabotaged the

purpose of the buy/sell provisions. Despite knowing he lacked the financial resources and the

ability to obtain necessary funding, Carroll purportedly “accepted” Lansing’s offer and chose to

purchase Lansing’s interests for $14,045,000. He made this purported commitment even though

he was unfamiliar with most of the funds’ properties, he did not have the support or confidence

of most of the investors (indeed, he never met approximately 90% of the investors), and he had a

deteriorating relationship with management entity employees and key fund lenders.

Nevertheless, Carroll “agreed” to purchase Lansing’s interests out of a personal vendetta and to

shamelessly attempt to extract more money from Lansing above and beyond the buy/sell price

for his interests pursuant to the requirements of the buy/sell clauses in the agreements.

       5.      Carroll’s blatant bad faith frustrated investors’ confidence in the funds.       As

Carroll had little acquaintance with, nor the support or confidence of the investors, many of them



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became concerned when Carroll announced he was purchasing Lansing’s interests and would

relieve Lansing of his responsibilities. The uncertainty continued to mount over the next four

months, as worried investors had little contact with Carroll during the supposed transition period.

       6.      Still, despite repeated promises by Carroll that he would purchase Lansing’s

interests as soon as possible, he was not able to close the transaction by the contractually

required closing date of March 29, 2011 – notwithstanding Carroll’s fraudulent representations

to Lansing that he was in a position to purchase Lansing’s interests. Not only did he fail to close,

but he also refused to pay Lansing in excess of $700,000 in earnest money that Carroll put up to

secure his performance at the closing.

       7.      These failures constitute material breaches under the agreements. Due to these

material breaches, Carroll’s bad faith purported “acceptance” of Lansing’s buy/sell offer, and his

fraudulent misrepresentations that a closing would occur, the buy/sell provisions in the

agreements provide Lansing the right to purchase Carroll’s interests of the ownership entities for

the same $14,045,000 buy/sell price. As if the delay and chaos he has caused is not enough,

Carroll now disputes that Lansing has a right to purchase Carroll’s interests.

       8.      Thanks to Carroll’s bad faith, material breaches, fraud, and his refusal to

recognize Lansing’s rights under the agreements, investors are understandably concerned as to

the operations and future direction of the funds.       This concern is magnified by Carroll’s

progressive dereliction of duties over the past several years. Accordingly, this Court should

order that Lansing has the right to purchase Carroll’s interest in The Westminster Funds

management entities at the buy/sell price, allowing a speedy and complete end to their business

association as envisioned by the buy/sell provisions, and bringing certainty to the ownership and




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leadership of the funds and stability for the execution of fiduciary obligations by fund

management.

                                             PARTIES

       9.       Robert Lansing is an individual who is a citizen of the State of Illinois. Lansing

resides in Lake County, Illinois. Lansing is physically present in Illinois and intends Illinois to

be his true, fixed, and permanent home. Lansing is a part owner, as well as a manager and

director, of the management entities for The Westminster Funds.

       10.      Upon information and belief, George Carroll is a resident of Los Angeles,

California and is citizen of the State of California. Upon information and belief, Carroll is

physically present in California and intends California to be his true, fixed, and permanent home.

Carroll is a part owner, as well as a manager and director, of the management entities for The

Westminster Funds.

                                 JURISDICTION AND VENUE

       11.      This court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332.

Diversity of citizenship exists because Lansing is a resident and citizen of the State of Illinois,

and Carroll is a resident and citizen of the State of California. Additionally, the amount in

controversy exceeds $75,000 because this dispute involves breaches of contracts and contractual

interpretation issues valued in the millions of dollars.

       12.      This court has jurisdiction over this matter pursuant to 28 U.S.C. § 2201 as this is

an action seeking, in-part, a declaration of the rights and other legal relations of interested parties

to contracts.

       13.      Venue is proper in this district under 28 U.S.C. § 1391 because a substantial part

of the events or omissions giving rise to the claims in this proceeding occurred within this



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district, and the ownership entities at issue are situated in this district.       Specifically, the

ownership entities are formed under the laws of the State of Illinois, have their principle place of

business in Lake Forest, Illinois, and the agreements are governed in accordance with the laws of

the State of Illinois. Additionally, as provided below, the failed closing at which Carroll did not

perform was held in Chicago, Illinois.

       14.     Personal jurisdiction is proper in this Court because, among other reasons, Carroll

transacts business in this judicial district, serving as a co-owner, director, and employee of the

funds, and/or the ownership entities, all of which are formed under Illinois law and have their

principle place of business in Illinois. Additionally, the agreements at issue, to which Carroll is a

party, are governed by Illinois law. Also, Carroll chose Chicago, Illinois for the failed closing at

which he breached the agreements. Furthermore, Carroll has expressly consented to the personal

jurisdiction of this Court in one of the agreements at issue.

                                 FACTS AND BACKGROUND

I.     The Westminster Entities

       15.     Beginning in approximately 1996, Lansing and Carroll began establishing a group

of investment funds for the purpose of investing in commercial real estate. Lansing and Carroll

formed a total of ten funds, each consisting of diversified real estate holdings comprised

primarily of income-producing property, including office and industrial buildings, retail

properties, and medical office buildings located predominantly in smaller U.S. metropolitan

areas (collectively, “The Westminster Funds”). The Westminster Funds have over a hundred

private investors. Since their beginning, the Westminster Funds have raised and invested more

than $600,000,000 in over 70 real-estate investment properties.




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II.    Overview of the Relevant Agreements

       A. The Limited Partnerships

       16.     The Westminster Funds consist of ten limited partnerships serving as the funds

through which investors invest in the properties. These limited partnerships are known as: (1)

Westminster Fund LP; (2) Westminster Fund II LP; (3) Westminster Fund III LP; (4)

Westminster Fund IV LP; (5) Westminster Fund V LP; (6) Westminster Fund VI LP; (7)

Westminster CCRC Investors LP; (8) Westminster Fund VII LP; (9) Westminster Fund VIII LP;

and (10) Westminster CCRC Investors II LP. The Westminster Funds were formed under the

laws of Illinois and are governed by separate limited partnership agreements.

       B. The General Partner Entities

       17.     Each of The Westminster Funds consists of (1) one general partner entity — in all

cases, a limited liability company controlled by Lansing and Carroll — and (2) various limited

partners, consisting of the various fund investors.      The general partner for each fund is

responsible for the management of the corresponding limited partnership. To undertake these

management responsibilities, Lansing and Carroll established the following ten companies to act

as general partners for The Westminster Funds: (1) Litchfield Investments LLC; (2) Westminster

Advisors II LLC; (3) Westminster Advisors III LLC; (4) Westminster Advisors IV LLC; (5)

Westminster Advisors V LLC; (6) Westminster Advisors VI LLC; (7) Westminster CCRC

Advisors LLC; (8) Westminster Advisors VII LLC; (9) Westminster Advisors VIII LLC; (10)

Westminster CCRC Advisors II LLC and its companion entity, Westminster CCRC Capital II,

LLC (each, a “General Partner Entity” and collectively, the “General Partner Entities”).

       18.     Lansing and Carroll typically serve as the sole members of each General Partner

Entity, and both have an equal ownership stake in the General Partner Entities. Each of the



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General Partner Entities were formed under Illinois law and has its principal office located in

Lake Forest, Illinois.

         19.      The General Partner Entities are each governed by an Operating Agreement

between Lansing and Carroll (collectively, the “Operating Agreements”).                            The Operating

Agreement for Westminster Advisors VIII LLC is attached hereto as Exhibit A. The Operating

Agreements for the other General Partner Entities are attached hereto as Exhibit B.12

         C. The General Partner Entities Each Have A Buy/Sell Provision

         20.      In forming the General Partner Entities, Lansing and Carroll realized that a time

might come when they would want to end their business relationship and disassociate themselves

from the funds. To that end, each of the Operating Agreements contain a buy/sell provision. As

is common in closely-held partnerships (particularly in the investment real-estate industry),

buy/sell provisions afford either partner the opportunity, at any time, to commence a partner buy

out by making an offer at a stated price. Once an offer is made, the partner receiving the offer

has the option to either sell his interests at the offered price, or to buy the offeror’s interests at

that same price. Because the party receiving the offer has the choice to either buy or sell at a

given price, buy/sell provisions offer a fair way for business partners to dissociate from each

other in a speedy, discreet, and efficient manner so as not to disrupt the operation of the

underlying entity.

         21.      Recognizing these needs, Lansing and Carroll both agreed to incorporate a

buy/sell provision in each of the Operating Agreements. Under Section 6.7 of each of the



1
 One of the funds, Westminster CCRC Investors II LP, is managed by a general partner, but has a companion entity
known as Westminster CCRC Investors Capital II, LLC, a limited liability company controlled by Lansing and
Carroll.
2
  Because all of the Operating Agreements contain substantially similar terms, any citation to a section of Exhibit A
is a citation to all of the Operating Agreements.

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Operating Agreements, either Lansing or Carroll may at any time place an offer to purchase the

other’s interests, or to sell all of their interests. Once an offer is made, it remains irrevocable for

a period of 30 days. During the 30-day period, the partner receiving the offer must make one of

three choices: 1) to sell to the offeror at the offered price; 2) to purchase from the offeror at the

offered price; or 3) take no action, in which case the offeror has the option to elect purchase from

the offeree for the offered price.” (Ex. A at Section 6.7(2)(a, c, d).).

       22.     Specifically, the buy/sell rights under Section 6.7 of the Operating Agreements

are outlined as follows:

       The Offerors may make an Offer to the Offerees to sell all of the Interests of the
       Offerors (a “Sell Offer”) and to purchase all of the Interests of the Offerees (a
       “Purchase Offer”). No Offer shall be subject to the provision of this Section 6.7
       unless such Offer is both an Offer to sell all of the Interests of the Offerors and
       and Offer to purchase all of the Interests of the Offerees, and such Offer must
       specify a price per Interest at which the Offerors is willing both to sell and to
       purchase all of the applicable Interests (the “Buy/Sell Price”)… … Such Offer
       shall be irrevocable for a period of thirty (30) days, and the Offerees may, on or
       before the thirtieth (30th) day after the date of such Offer, accept either the Sell
       Offer or the Purchase Offer.
       …

       Upon acceptance of this Offer, the Offerors shall be required to sell or to
       purchase, as the case may be. … If Offerees fail within such thirty (30) day
       period to accept such Offer to sell or to purchase, then the Offer shall
       automatically expire and be of no further force or effect; provide, however, that
       Offerors shall thereupon have the right, on or before the fifteenth (15th) day after
       the expiration of such thirty (30) day period, to purchase the Interests of the
       Offerees at the Buy/Sell Price, and if the Offerors exercise such right, the
       Offerees shall be required to sell their Interests herein.
       …

       If the Offerors or Offerees, as the case may be, exercises its rights hereunder to
       buy or sell, a closing thereunder shall be held at the time and place and on the date
       specified by the purchasers by written notice to the sellers, which date shall in any
       case be on or prior to the one hundred twentieth (120th) day after such right to buy
       or sell has been exercised. …

(Ex. A at Section 6.7(2)(a, c, d).)



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           23.   Under Section 6.7 of the Operating Agreements, in the event the offeree fails to

respond within 30 days to be a buyer or a seller, the partner making the original offer has the

automatic right to purchase the interests of the offeree at the stated offer price. (Ex. B at Section

6.7(2)(a, c, d).) This provision is intended to provide certainty to the buy/sell process, so that a

partner cannot avoid his buy/sell obligations or delay the process.

           24.   Once an offer is accepted, a closing to consummate the transaction must occur

within 120 days “after such right to buy or sell has been exercised.” (Ex. A at Section 6.7(2)(a,

c, d).)

           D. Litchfield Advisors

           25.   Prior to the formation of the first of the Westminster Funds in 1996, Lansing and

Carroll had established Litchfield Advisors, Inc. (“Litchfield”), which would act as the

management services entity to provide real estate management, administrative, accounting, and

other employee services to The Westminster Funds and the General Partnership Entities.

Litchfield was formed through a Shareholders Agreement between Lansing and Carroll,

amended and restated as of December 26, 2007. Pursuant to the Shareholders Agreement,

Lansing and Carroll each own 50% of the shares of Litchfield. Litchfield is formed under the

laws of the State of Illinois and has its principal office located in Lake Forest, Illinois. A true

and accurate copy of the Shareholders Agreement, as amended, is attached hereto as Exhibit C.

           26.   The following chart illustrates the overall structure of The Westminster Funds, the

General Partner Entities, and Litchfield.




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Additionally, an organization chart showing the relationship of The Westminster Funds, all

General Partner Entities, and Litchfield is attached hereto as Exhibit D.

       27.     Like the General Partner Operating Agreements, the Litchfield Shareholders

Agreement also contains a “Buy/Sell” provision, enabling one shareholder to conclusively



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divorce and separate from the other. Specifically, the Litchfield Shareholders Agreement states

as follows:

         The Offeror may make the Offeree an Offer to sell all of the Share of the Offeror,
         and to purchase all of the Shares of the Offeree. … [S]uch Offer must specify a
         price per Share at which the Offeror is willing to both sell or to purchase all of the
         Shares (the “Buy/Sell Price”) and that the total purchase price is payable by bank
         certified, cashier’s or treasure’s check. … Such Offer shall be irrevocable for a
         period of thirty (30) days, and the Offeree may, on or before the thirtieth (30th)
         day after the date of such Offer, accept either the Offer to sell or the Offer to
         Purchase.
         …

         Upon acceptance of this Offer, the Offeror shall be required to sell or to purchase,
         as the case may be. If the Offeree fail within such thirty (30) day period to accept
         such Offer to sell or to purchase, then the Offer shall automatically expire and be
         of no further force or effect; provide, however, that Offeror shall thereupon have
         the right, on or before the fifteenth (15th) day after the expiration of such thirty
         (30) day period, to purchase the interest of the Offeree, at the Buy/Sell Price, and
         if the Offeror exercises such right, the Offeree shall be required to sell its interests
         herein.
         …

         If the Offeror or Offeree, as the case may be, exercises its rights hereunder to buy
         or sell, a closing thereunder shall be held at the time and place and on the date
         specified by the purchaser by written notice to the seller, which date shall in any
         case be on or prior to the one hundred twentieth (120th) day after such right to buy
         or sell has been exercised. …

(Ex. C, Section 12.2 (a, b, c).)

III.     The Westminster Funds’ Management Team

         28.    The success of the Westminster Funds through the current “Great Recession” is

almost entirely a result of the tireless efforts of Lansing and the team of dedicated Litchfield

employees located in Lake Forest, Illinois. Litchfield currently employs a dozen people, nine of

whom work out of Litchfield’s headquarters in Lake Forest, Illinois. Lansing and the Litchfield

team are responsible for serving as the “asset managers” for more than 95% of the property

investments held by The Westminster Funds. These asset management responsibilities include



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tasks such as ensuring that taxes and mortgages are paid, rents are collected, mortgage financing

is obtained and refinanced, working with third-party property management companies hired to

conduct the day-to-day operations of investment properties, preparing properties for sale, and

developing properties to generate investment returns for investors.

        29.    Lansing is the President of Litchfield, the most visible face of The Westminster

Funds, and the undisputed leader of the organization. Not only does he manage the Lake Forest

team, but he also serves as the primary contact with investors, having sourced and raised nearly

all of the $600,000,000 of investor capital commitments that comprise The Westminster Funds.

Under Lansing’s leadership, the Westminster Funds have provided strong returns to investors for

more than a decade, maintaining stability during the recent recession and material downturn in

the real estate market. Unlike many real estate investment funds that have recently failed or lost

properties to lender foreclosure, The Westminster Funds, as of this date, have not returned any

properties to lenders to satisfy mortgage obligations.

IV.     Carroll’s Failures As A Fiduciary And As An Asset Manager

        30.    Although the funds have been anchored by Lansing’s strong leadership, Carroll’s

management involvement over the past three years has been, at best, sparse. Years ago, Carroll

moved to Los Angeles. While working primarily on three assets in Southern California, Carroll

began to neglect his general partner management and oversight responsibilities, and withdrew

from regular communications and interactions with the management team based in Lake Forest.

In fact, for almost a two year period between January 1, 2009 and November 1, 2010, Carroll did

not visit the Lake Forest office at any time. He has refused to engage in routine interactions with

other Litchfield employees. In some instances, he has become belligerent toward employees of

Litchfield, as well as third-parties involved with The Westminster Funds’ investment properties.



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And, more recently, he has admitted to stalking Litchfield employees by improperly accessing

and reading emails without authorization. These and other acts and failures have caused Lansing

and the rest of the management team to lose all faith in Carroll’s ability to carry out his job

responsibilities and fiduciary duties to The Westminster Funds.

       31.     Carroll no longer meaningfully participates in the management of the funds. For

instance, The Westminster Funds hold quarterly review meetings, during which assets and

investment holdings of the funds are assessed. Despite the import of these meetings, Carroll

rarely participated in a meaningful way in recent years. He has also spurned critical duties, such

as providing quarterly updates for the few properties he does manage. Although investors rely

on the accuracy and integrity of these quarterly reports, in recent years Carroll has shuttered his

responsibility to prepare them. (See Exhibit E, e-mail from Carroll asking not to be bothered

about the “QI 2010” report.) In essence, Carroll has effectively withdrawn from his management

role as an officer of Litchfield and general partner of The Westminster Funds.

       32.     In addition, Carroll adds virtually no value in connection with investor relations

or raising new funds. He has failed to attend any of the bi-annual investor meetings since May,

2004 — a critical component of his normal duties as an owner and director of Litchfield and

general partner of the funds. Given Carroll’s limited contact, very few of The Westminster

Funds’ investors have ever met him or know who he is, let alone have confidence in his ability to

steward their investments.

       33.     Carroll’s neglect continues. He is responsible as primary asset manager for three

properties in California, but in recent years he has neglected his duties, requiring his replacement

as primary asset manager. For example, Carroll has failed to undertake his duties as an asset

manager to prepare properties for sale. Carroll is the asset manager for a shopping mall in



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Riverside, California, as well as for a housing development located in Austin, Texas. These

properties have been held by The Westminster Funds for many years and need to be sold, but

Carroll is not up to the task as lead asset manager.

        34.        These and other failures have caused Lansing and the rest of the management

team to lose all faith in Carroll’s ability to carry out his job responsibilities and fiduciary duties

as a general partner of The Westminster Funds.

V.      Lansing Exercises the Buy/Sell Provisions And Carroll’s Bad Faith Acceptance

        35.        Due to Carroll’s failures and neglect, Lansing no longer wished to be a business

partner of Carroll. On November 1, 2010, Lansing exercised the buy/sell provisions contained in

both the Operating Agreements of the General Partner Entities, as well as the Litchfield

Shareholder’s Agreement. Lansing invoked these provisions by sending Carroll a letter, attached

hereto as Exhibit F.

        36.        In doing so, Lansing offered to either buy all of Carroll’s shares in the General

Partner Entities and Litchfield, or to sell to Carroll all of Lansing’s shares in the General Partner

Entities and Litchfield, for a price of $14,045,000.3 Specifically, Lansing’s letter stated as

follows:

        Pursuant to and in accordance with Section 12.2(a) of the Shareholders
        Agreement and Section 6.7(2)(a) of the Operating Agreements, this letter
        constitutes, and serves as notice of, both the undersigned’s offer to purchase (the
        “Buy Offer”) all shares of LAI owned by Carroll and all of the Carroll Owners’
        Interests and rights in the LLCs, and the undersigned’s offer to sell (the “Sell
        Offer” and, together with the Buy Offer, the “Offer”) to the Carroll Owners all
        shares of LAI owned by Lansing and all of the Lansing Owners’ Interests and
        rights in the LLCs, in each case for an gross purchase price equal to $14,045,000
        (the “Buy/Sell Price”). This Offer shall remain open for a period of thirty (30)
        days from the date hereof.

(Ex. F at p. 1.)

3
 Less required capital contributions, which today are approximately $21,768.18, and less unmet capital call for
unfunded capital commitments, which amount to $1,006,936.10.

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       37.        Even though Carroll alienated himself from his fellow employees, investors, and

lenders of The Westminster Funds, on November 26, 2010, Carroll elected and agreed to

purchase all of Lansing’s interest in the General Partner Entities and Litchfield for $14,045,000,

“accepting” Lansing’s sell offer under the buy/sell provisions. Carroll’s supposed “acceptance”

is memorialized in a letter attached hereto as Exhibit G. Pursuant to the terms of Lansing’s

November 1, 2010 letter and the Operating and Shareholders Agreements, this transaction was to

close no later March 29, 2011.

       38.        As the declared purchaser, Carroll deposited $705,000 into an escrow account as

required under the terms of the agreements. Specifically, the ultimate purchaser of shares under

the buy/sell provisions is required to place five-percent of the purchase amount in escrow:

       The offer shall go into effect on the latter of the notice of the Offer or when the
       Offeror places into escrow mith a mutually acceptable escrow agent a chase sum
       equal to five percent (5%) of the Offer amount to purchase. Such escrow shall
       be included in the purchase consideration and delivered to the Offeree if the
       Offeree accepts the Offer of the Offeror and the Offeror completes the
       purchase…. Should the Offeror fail to complete a purchase accepted by the
       Offeree, the funds deposited in escrow shall be promptly paid to the Offeree by
       the escrow agent.

(Ex. C, Section 12.2(a).) The Operating Agreements contain similar provisions.

       39.        Accordingly, to comply with the agreements, in his letter of November 26, 2010

Carroll stated:

       We accept your selection of the escrow holder. As a result, on Monday I will
       cause to be deposited on behalf of Carroll and the Carroll Owners a cashier’s
       check equal to 5% of the Buy/Sell Price into escrow….

(Ex. G at 1.)

       40.        However, Carroll’s so-called acceptance of Lansing’s offer to sell his interests in

the various entities was done in bad faith. As Lansing now knows, Carroll never had the money

or the wherewithal to purchase Lansing’s interests. Nor did he have any reasonable prospect to

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secure the necessary funding to effect purchase of Lansing’s interests. Carroll knew little about

running the Westminster Funds’ operations, nor had (and currently does not have) the

management experience and leadership qualities to run and manage the organization. He did not

have support from the employees or investors - indeed no informed investors in adequate

numbers would back him with funds to effect the purchase of Lansing’s interests.               Still,

apparently to frustrate Lansing and pursue what by all appearances is his personal vendetta

against Lansing, Carroll purportedly “accepted” Lansing’s offer to sell his interests in the various

entities.

        41.    Upon his bad faith “acceptance,” Carroll planned and took actions that were

adverse to The Westminster Funds and their investors, including making misrepresentations to

the investors. For example, Carroll failed to develop a transition plan for the management of The

Westminster Funds. While Carroll visited the Lake Forest offices on January 12, 2011 for

approximately three and one-half hours – his first visit in years – and on January 14, 2011 for

approximately four more hours, he never returned. And while he was there on January 12,

Carroll fell asleep during an important meeting to review the property portfolio of The

Westminster Funds and left the meeting before its conclusion and before he was to report on

properties under his asset management.

        42.    Additionally, beyond neglecting to learn about the properties, Carroll engaged in

a confused session with the Litchfield employees, wherein he indicated that they might retain

their jobs or that they might lose their jobs.        He promised to send each employee an

individualized letter concerning their employment but no individualized letters were ever

received by employees.




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       43.     Moreover, on January 4, 2011, and without any prior consultation with Lansing,

Carroll sent a bizarre and damaging letter to most of The Westminster Fund investors, informing

them of the details of Lansing’s invocation of the buy/sell provisions (attached hereto as Exhibit

H). In this letter, Carroll, upon information and belief, made misrepresentations to the investors

that he planned “to close the transaction as soon as possible,” that the “transfer of interests

should be seamless for investors and our operations will not be disrupted,” and that in “the near

future I will be spending almost 100% of my time at our office in Lake Forest….”

       44.     None of these representations were true. In reality, Carroll had no capability to

close the transaction. It was impossible — he had no means to do so nor the ability to run the

organization. He accepted Lansing’s sell offer in bad faith out of spite against Lansing as a way

to delay the buy/sell process and to vindictively frustrate and otherwise disrupt Lansing from

continuing on with managing The Westminster Funds.

       45.     Furthermore, despite Carroll’s assurances in his January 4 letter that his purchase

of Lansing’s interest would be seamless for The Westminster Funds’ investors, Carroll disturbed

a large number of investors when he represented that he would make “some immediate changes

in the firm’s governance and investment strategy, including…[e]xploring alternate asset classes,

such as purchasing debt secured by real property…with the potential of acquiring the underlying

real-estate at a major discount.” (Ex. H at 3.) He made these representations to investors even

though The Westminster Funds had never before invested in these assets, nor had investors been

informed that distressed debt would be an investment target of The Westminster Funds.

       46.     These representations rightfully concerned many investors, particularly since few

if any of the investors had ever met Carroll, let alone have confidence in him.




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VI.       Carroll’s Breaches And Fraudulent Assurances

          47.   Predictably, despite Carroll’s representations to The Westminster Fund investors

that he “planned to close the transaction as soon as possible,” Carroll failed to close the

transaction and purchase Lansing’s interest in the General Partner Entities or Litchfield as

agreed.

          48.   The closing date was set for March 29, 2011 in Chicago, Illinois. Lansing was

present at the closing on March 29, 2011 and was prepared to comply with his contractual

obligations and sell his interests in the various entities to Carroll. Nevertheless, Carroll never

showed up, never tendered payment, and never consummated the purchase — all in material

breach of all agreements at issue.

          49.   Carroll’s material breaches occurred despite his repeated and fraudulent

assurances over many months that the transaction would close. Indeed, just days before the

failed closing, Carroll fraudulently represented that he had secured funds to effectuate the

purchase and that the transaction would close as planned.

          50.   Carroll’s repeated, false assurances that the transaction would close on March 29,

2011 allowed Carroll to delay his material breaches and to cover up his bad faith “acceptance” of

Lansing’s sell offer, hiding his inability to purchase Lansing’s shares until the last possible

moment, all the while causing further and significant damage to Lansing’s reputation and the

goodwill he had built up with investors over many years.

          51.   Following Carroll’s bad faith, fraudulent misrepresentations, his material breach

of the agreements, the failed closing, and the expiration of the 120-day period as provided under




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both the Operating Agreements and the Shareholders, Lansing exercised his right to purchase

Carroll’s interest in the General Partner Entities and Litchfield.

       52.     Specifically, the Litchfield Shareholders Agreement provides as follows:

       If the Offeree fails within such thirty (30) day period to accept such Offer to sell
       or to purchase, then the Offer shall automatically expire and be of no further force
       or effect; provided, however, that the Offeror shall thereupon have the right, on or
       before the fifteenth (15th) day after the expiration of such thirty (30) day period, to
       purchase the interests of the Offeree, at the Buy/Sell Price, and if the Offeror
       exercises such right, the Offeree shall be required to sell its interest herein.

(Ex. C, Section 12.2(b).) Additionally, the Operating Agreements each contain the following

provision:

       “If the Offerees fails within such thirty (30) day period to accept such Offer to sell
       or to purchase, then the Offer shall automatically expire and be of no further force
       or effect; provided, however, that the Offerors shall thereupon have the right, on
       or before the fifteenth (15th) day after the expiration of such thirty (30) day period,
       to purchase the interests of the Offerees, at the Buy/Sell Price, and if the Offerors
       exercises such right, the Offerees shall be required to sell their interest herein.”

(Ex. A, Section 6.7(2)(c).)

       53.     On April 3, 2011, by way of letter and well within the fifteen day window after

Carroll’s material breach of the agreements, Lansing exercised his rights under these provisions.

Lansing expressly stated that he “hereby exercises that right” to purchase Carroll’s interests for

$14,045,000. This April 3, 2011 letter is attached hereto as Exhibit I. Lansing invoked these

rights in an effort to bring a speedy and complete conclusion to the buy/sell process and ensure

the appropriate management of the properties for the benefit of The Westminster Funds’

investors.

       54.     Despite Lansing’s invocation of his rights under the agreements, on April 5, 2011

Carroll informed Lansing that he “disagrees with the statement in your letter that Lansing is

entitled under the ‘buy/sell’ provisions of the agreements to purchase Carroll’s interests….”



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Carroll continued, saying that the “language of [the] agreements does not provide as you

assert….” This letter is attached hereto as Exhibit J.

       55.     Although Carroll engaged in prolonged and fraudulent tactics to cover up his bad

faith, Carroll continues to assert that Lansing does not have the right to purchase his interest in

the General Partner Entities and Litchfield despite correspondence and discussions concerning

Lansing’s rights. In a letter dated May 20, 2011, Carroll continues to assert that Lansing has no

right to purchase his interest in the Westminster Funds. This letter is attached hereto as Exhibit

K.

       56.     Lansing stands ready to purchase Carroll’s interest, and would have done so

already but for Carroll’s bad faith and fraud. Carroll’s refusal to recognize Lansing’s right to

purchase Carroll’s interests is preventing the speedy and complete conclusion to the buy/sell

process.

       57.     The delay has caused consternation and concern among the investors over their

investments. As one can imagine, the investors in The Westminster Funds want a speedy

resolution to the buy/sell process between the owners of the General Partner Entities and

Litchfield. Moreover, many of the investors in The Westminster Funds have concerns about

Carroll obtaining control. These investors have no confidence in Carroll and do not believe him

to be capable of effectively managing The Westminster Funds and stewarding their investments.

       58.     As a result of Carroll’s bad faith, fraud, and material breaches, the reputation of

The Westminster Funds, as well as the reputation of Lansing, is being jeopardized by the

inability to quickly and completely finalize the buy/sell process thanks to Carroll’s refusal to

recognize Lansing’s rights under the agreements.




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                                                  COUNT I
                                              Breach of Contract

         59.      Lansing repeats and incorporates by reference the allegations set forth in

Paragraphs 1 through 58 above.

         60.      The Shareholders Agreement4 and the Operating Agreements are valid, binding,

and enforceable contracts between Lansing and Carroll.

         61.      Carroll was obligated to comply with the buy/sell provisions in the Shareholders

Agreement and the Operating Agreements when Lansing sent a buy/sell letter to Carroll on

November 1, 2010, offering to either buy all of Carroll’s interests in the General Partner Entities

and Litchfield, or to sell Carroll all of Lansing’s interests in the General Partner Entities and

Litchfield for $14,045,000.

         62.      Carroll breached the Shareholders Agreement and the Operating Agreements

when he failed to comply with the buy/sell provisions in each of those contracts, including by,

among other things, “agreeing” in bad faith to purchase Lansing’s interests, by making material

misrepresentations regarding Carroll’s ability to close the transactions, and by failing to honor

Lansing’s rights to purchase Carroll’s interests under the Shareholders Agreement and the

Operating Agreements.           Carroll’s fraud and bad faith “acceptance” to purchase Lansing’s

interests did not constitute valid acceptances under the contracts, and thus, Lansing has the right

to purchase all of Carroll’s interests under the Shareholders Agreement and the Operating

Agreements.

         63.      Lansing at all times has fully performed his obligations under these contracts.




4
         To the extent that Section 16, “Arbitration,” of the Shareholders Agreement applies to this dispute, Lansing
is prepared to dismiss his claims under the Shareholders Agreement and proceed in arbitration with his claims
arising under that agreement.

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       64.         Carroll also breached the covenant of good faith and fair dealing when he, in bad

faith, “accepted” Lansing’s buy/sell offer in order to pursue his personal vendetta against

Lansing, knowing that he neither had the means to close the transaction or the ability to operate

and manage The Westminster Funds. Carroll’s bad faith “acceptance,” as well as his subsequent

refusal to sell his interests to Lansing, constitutes arbitrary and unreasonable conduct designed to

prevent Lansing from receiving his benefit under the contracts.

       65.         Lansing has been damaged by Carroll’s breaches by, among other things,

Carroll’s failure to release his escrowed amount of $705,000 to Lansing as required by the

contracts, the incurring of unnecessary legal expenses in connection with preparing to perform

under the contracts, by the loss of his benefit of the bargain under the contracts, and by the

damage to the reputation to both Lansing and the Westminster Funds.

       WHEREFORE, Lansing prays that the Court:

       (a) enter judgment in his favor against Carroll;

       (b) award monetary damages to compensate Lansing for Carroll’s breaches;

       (c) award specific performance ordering Carroll to sell his interests to Lansing as is now

             required under the Shareholders Agreement and the Operating Agreements;

       (d) award specific performance ordering Carroll to release the $705,000 in escrow to

             secure his ability to perform;

       (e) pre-judgment interest and reasonable attorney’s fees as called for by the agreements;

             and

       (f) other relief this Court may deem proper, with the specific monetary amount to be

             determined at trial.




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                                            COUNT II
                                             Fraud

       66.     Lansing repeats and incorporates by reference the allegations set forth in

Paragraphs 1 through 65 above.

       67.     After Carroll’s bad faith “acceptance” of Lansing’s November 1, 2010 buy/sell

offer under the Shareholders Agreement and the Operating Agreements, Carroll continued to

make various false representations regarding his ability to “close” the transaction.

       68.     For example, Carroll – through his attorney – informed Lansing’s attorney on

March 17, 2011 that Carroll has the money and intends to close by March 29, 2010. This was

false, as Carroll did not have the money.

       69.     To perpetuate this fraud, Carroll instructed his attorneys to prepare and send draft

transaction documents and correspondence to Lansing’s attorneys in preparation for the

fraudulent “closing” beginning on March 22, 2011 and continuing throughout the following

days. Each draft and piece of correspondence constituted further misrepresentations that Carroll

was able and prepared to close the transaction by March 29, 2011. Carroll was not able and was

not prepared to close by March 29, 2011.

       70.     Each of Carroll’s misrepresentations were material.

       71.     Carroll’s material misrepresentations were done with the intent to deceive

Lansing that Carroll had sufficient money to close the buy/sell transaction and was otherwise

able and ready to close the transaction.

       72.     Lansing relied on these material misrepresentations by preparing for the failed

closing and incurring significant attorneys fees to review and prepare necessary documents

relating to the fraudulent closing.




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       73.      In reliance on Carroll’s material misrepresentations, Lansing suffered significant

damages, including attorneys fees in preparing for the fraudulent closing.

       WHEREFORE, Lansing prays that the Court:

             (a) enter judgment in his favor against Carroll;

             (b) award monetary damages to compensate Lansing for his damages from Carroll’s

                fraud;

             (c) award specific performance ordering Carroll to sell his interests to Lansing as is

                now required under the Shareholders Agreement and the Operating Agreements;

             (d) pre-judgment interest and reasonable attorney’s fees; and

             (e) other relief this Court may deem proper, with the specific monetary amount to be

                determined at trial.

                                            COUNT III
                                       Declaratory Judgment

       74.      Lansing repeats and incorporates by reference the allegations set forth in

Paragraphs 1 through 73 above.

       75.      The Shareholders Agreement and the Operating Agreements are valid, binding,

and enforceable contracts between Lansing and Carroll.

       76.      Lansing at all times has fully performed his obligations under these contracts.

Lansing now stands ready to perform and purchase Carroll’s interests in the General Partner

Entities and Litchfield.

       77.      As described above, Carroll disputes that Lansing has a right under the contracts

to purchase his interests the General Partner Entities and Litchfield. Carroll’s basis for his

position is that the “language of the agreements does not provide…that upon Carroll’s failure to

close within 120 days either Lansing has the right to purchase Carroll’s interests….” (Ex. J.)

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        78.      The agreements state that “[i]f the Offeree fails within such thirty (30) day period

to accept such Offer to sell or to purchase, then the Offer shall automatically expire and be of no

further force or effect; provided, however, that the Offeror shall thereupon have the right, on or

before the fifteenth (15th) day after the expiration of such thirty (30) day period, to purchase the

interests of the Offeree, at the Buy/Sell Price, and if the Offeror exercises such right, the Offeree

shall be required to sell its interest herein.” (Ex. C, Section 12.2(b); See also Ex. A, Section

6.7(2)(c).)

        79.      Carroll’s bad faith “acceptance” to purchase Lansing’s interests, his fraudulent

misrepresentation to cover up his bad faith, as well as his material breach of all agreements,

amounts to no acceptance of Lansing’s invocation of the buy/sell process and provides Lansing

the right to purchase Carroll’s interests in the General Partner Entities and Litchfield.

        80.      Carroll continues to dispute Lansing’s rights under the agreements.

        81.      There exists an actual controversy between Lansing and Carroll within the

jurisdiction of this Court as to whether Lansing is now entitled to purchase Carroll’s interests.

        WHEREFORE, Lansing prays that the Court:

              (a) enter judgment in his favor against Carroll;

              (b) enter an order declaring that Lansing is entitled under the Shareholder Agreement

                 and the Operating Agreements to purchase Carroll’s interests in the General

                 Partner Entities as well as Litchfield;

              (c) award specific performance ordering Carroll to sell his interests in the General

                 Partner Entities as well as Litchfield to Lansing as is now required under the

                 Shareholders Agreement and the Operating Agreements;




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             (d) award specific performance ordering Carroll to release the $705,000 in escrow to

                secure his ability to perform;

             (e) pre-judgment interest and reasonable attorney’s fees as called for by the

                agreements; and

             (f) other relief this Court may deem proper, with the specific monetary amount to be

                determined at trial.

                                         COUNT IV
                             Breach of Contract (in the alternative)

       82.      Lansing repeats and incorporates by reference the allegations set forth in

Paragraphs 1 through 81 above.

       83.      In the event Carroll’s bad faith “acceptance” of Lansing’s November 1, 2010

letter to Carroll – which incorporated the buy/sell provisions of the Shareholders Agreement and

the Operating Agreements – constitutes a valid, binding, and enforceable contract between

Lansing and Carroll, Carroll breached that contract by failing to perform.

       84.      Under the buy/sell provisions of these contracts, Carroll was obligated to purchase

Lansing’s interests by or before March 29, 2011 for $14,045,000.

       85.      Carroll breached these agreements by failing to close the transaction and purchase

Lansing’s interests.

       86.      Lansing at all times has fully performed his obligations under the Shareholders

Agreement, the Operating Agreements, and this purported buy/sell contract.

       87.      Carroll’s failure to close the transaction and purchase Lansing’s interests provides

Lansing the right to purchase Carroll’s interests under the Operating Agreements and

Shareholder Agreement.




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       88.    Lansing has been damaged by Carroll’s breaches by, among other things,

Carroll’s failure to release his escrowed amount of $705,000 to Lansing as required by the

contracts, the incurring of unnecessary legal expenses in connection with preparing to perform

under the contracts, by the loss of his benefit of the bargain under the contracts, and by the

damage to the reputation to both Lansing and the Westminster Funds.

       WHEREFORE, Lansing prays that the Court:

              (a) enter judgment in his favor against Carroll;

              (b) award monetary damages to compensate Lansing for his damages from

                  Carroll’s breaches;

              (c) award specific performance ordering Carroll to sell his interests to Lansing as

                  is now required under the Shareholders Agreement and the Operating

                  Agreements;

              (d) award specific performance ordering Carroll to release the $705,000 in escrow

                  to secure his ability to perform;

              (e) pre-judgment interest and reasonable attorney’s fees as called for by the

                  agreements; and

              (f) other relief this Court may deem proper, with the specific monetary amount to

                  be determined at trial.




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Dated: June 17, 2011                                 Respectfully submitted,


                                                     ROBERT T.E. LANSING



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